                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION


ANDREA THOMAS, DEANDRE      :
TINSON, and SHONNIKA SPEARS,:
on behalf of themselves and others
                            :
similarly situated,         :
                            :
           Plaintiffs,      : Case No.: 6:19-cv-1528---RBD-GJK
                            :
     v.                     :
                            :
AMAZON.COM SERVICES, INC., :
AMAZON LOGISTICS, INC.,     :
AMAZON.COM LLC, JSTC, LLC, :
COMMERCIAL EXPRESS, INC.,   :
COEI, LLC, AG PLUS EXPRESS, :
LLC, and DROP A BOX, INC.,  :
                            :
           Defendants.      :


       PLAINTIFFS’ UNOPPOSED MOTION FOR PRELIMINARY
         APPROVAL OF THE FAIR LABOR STANDARDS ACT
         COLLECTIVE ACTION SETTLEMENT AGREEMENT

      Plaintiffs Andrea Thomas, DeAndre Tinson, and Shonnika Spears, through

their undersigned counsel, respectfully move this Court for an Order:

       1.     For settlement purposes, conditionally certifying the following

 collective pursuant to 29 U.S.C. § 216(b):

       Plaintiffs and all current and former DAs who were paid by
       Commercial Express, COEI, LLC, or any one of its subcontractors,
       including AG Plus Express, LLC, JSTC, LLC, and/or Drop a Box,
       Inc. to deliver packages to customers of Amazon in the United States
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       between      March      1,    2017      and     June     22,    2019.

       2.      Granting preliminary approval of the Parties’ FLSA Collective

 Action Settlement Agreement, a true and correct copy of which is attached as

 Exhibit 1 to this Motion as a fair and reasonable resolution of a bona fide dispute

 under the Fair Labor Standards Act.

       3.      Approving the Notice of Collective Settlement, attached as Exhibit

 A to the Settlement Agreement, and authorizing dissemination of the Notice to

 members of the Settlement Collective; and

       4.      Setting a date for final approval of the Settlement Agreement.

       This Motion is based on the accompanying Memorandum of Law, the

 Declaration of Sarah Schalman-Bergen, the attached Exhibits, and all other

 records, pleadings and papers on file in this action. Defendants do not oppose this

 Motion. A proposed Order is submitted for the Court’s consideration (attached as

 Exhibit 2).

Dated: December 17, 2021        Respectfully submitted,

                                LICHTEN & LISS-RIORDAN, PC

                                /s/ Sarah R. Schalman-Bergen
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